     Case: 1:16-cv-10667 Document #: 70 Filed: 04/19/18 Page 1 of 1 PageID #:570

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Monique Brown
                                           Plaintiff,
v.                                                        Case No.: 1:16−cv−10667
                                                          Honorable Charles P. Kocoras
Health Resource Solutions, Inc., et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 19, 2018:


        MINUTE entry before the Honorable Maria Valdez: Final Approval Hearing held
on 4/19/18. The Court finds the proposed settlement, fair, reasonable, appropriate, and in
the best interests of the settlement class, and therefore grants the parties#039; Joint
Motion For Final Approval Of Class Action Settlement And Final Approval Of FLSA
Collective Action Settlement [66] and Plaintiffs' Unopposed Petition for Approval of
Attorney's Fees and Service Payment to The Class Representative [68]. Class Counsel is
thus entitled to an award of $300,000.00, Class Counsel is entitled to settlement
administration expenses in the amount of $7,878.00, and the Class Representative
Monique Brown is entitled to a Service Award of $7,500.00. Civil case terminated.
Mailed notice(lp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
